          Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 1 of 11
                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                         November 12, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                   Case No. 24-90533 (ARP)

                                                                     (Joint Administration Requested)
Debtors.
                                                                     Re: Docket No.

    ORDER (I) AUTHORIZING THE DEBTORS TO (A) FILE A CONSOLIDATED LIST
     OF THE DEBTORS’ 30 LARGEST UNSECURED CREDITORS AND (B) REDACT
     CERTAIN PERSONALLY IDENTIFIABLE INFORMATION, (II) AUTHORIZING
     SERVICE OF PARTIES IN INTEREST BY EMAIL, (III) APPROVING THE FORM
         AND MANNER OF THE NOTICE OF COMMENCEMENT AND OTHER
              INFORMATION, AND (IV) GRANTING RELATED RELIEF

         Upon the emergency motion (the “Motion”) 2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an Order (this “Order”) (a) authorizing the

Debtors to redact personal identifying information from documents filed with the Court in these

chapter 11 cases (including any Creditor Matrix, Schedule, or Statement), (b) approving the form

and manner of notifying creditors of the commencement of these chapter 11 cases and other

information, and (c) granting related relief, as more fully described in the Motion; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to

28 U.S.C. § 1334 and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D.

Tex. May 24, 2012) (Hinojosa, C.J.); and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157; and this Court having found that it may enter a final order consistent



1
     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
     claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11
     cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 2 of 11




with Article III of the United States Constitution; and this Court having found that venue of these

chapter 11 cases and related proceedings being proper in this district pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice of the Motion having been provided to the Notice Parties,

such notice having been adequate and appropriate under the circumstances, and it appearing that

no other or further notice need be provided; and this Court having reviewed and considered the

Motion and the First Day Declaration; and this Court having held a hearing to consider the relief

requested in the Motion on a final basis (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and the First Day Declaration and at the Hearing

establish just cause for the relief granted herein; and this Court having found that the relief

requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

other parties in interest; and this Court having determined that the relief requested in the Motion

is necessary to avoid immediate and irreparable harm to the Debtors and their estates as

contemplated by Bankruptcy Rule 6003; and all objections and reservations of rights filed or

asserted in respect of the Motion, if any, having been withdrawn, resolved, or overruled; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is hereby

       ORDERED, ADJUDGED, AND DECREED THAT:

       1.      The Debtors and Epiq are authorized to redact on the Creditor Matrix, Schedules

and Statements, claims register, proofs of claim, or other documents filed with the Court (a) the

names, email addresses, and home addresses of all individual creditors—including the Debtors’

patients, employees, contract workers, former employees, vendors, and suppliers—and any

individual equityholders, (b) all personally identifiable information of minors, and (c) the names,

home and email addresses and other personal data of any natural person, in each case to the extent

                                                 2
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 3 of 11




that they are processed subject to the CCPA, CPA, CPRA, and TDPSA. The Debtors shall provide

an unredacted version of the Creditor Matrix, Schedules and Statements, proofs of claim, and any

other filings redacted pursuant to this Order to (x) the Court, the U.S. Trustee, Epiq, counsel to the

DIP Lenders, counsel to the Ad Hoc Group, and counsel to any statutory committee appointed in

these chapter 11 cases and (y) any party in interest upon a request to the Debtors (email is

sufficient) or to the Court that is reasonably related to these chapter 11 cases, subject to the

restrictions of the CCPA, CPA, CPRA, and TDPSA; provided, in each case, that the recipient of

such unredacted documents shall not transfer or otherwise provide such unredacted document to

any other person or entity without a further order from this Court.

        2.      The Debtors shall inform the U.S. Trustee and this Court promptly after denying,

pursuant to this Order, any request for an unredacted document. Nothing herein precludes a party

in interest’s right to file a motion requesting that this Court unseal the redacted document pursuant

to this Order. The rights of all parties in these chapter 11 cases to object for any reason to the

relief set forth in this Order, including that the Debtors have not satisfied their burden under section

107(c) of the Bankruptcy Code, are hereby preserved.

        3.      The Debtors are authorized, but not directed, to serve all pleadings and papers,

including the Notice of Commencement, on all parties listed on the Creditor Matrix, including via

email, if available.

        4.      As soon as practicable after entry of this Order, the Debtors shall cause the Notice

of Commencement (with such changes as may be required for publication) to be published at least

once in (a) The New York Times, USA Today, and Prison Legal News and (b) such other

publications that the Debtors determine are appropriate in their business judgment. In addition,

the Debtors are authorized, but not directed, to (a) distribute the Notice of Commencement to

                                                   3
         Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 4 of 11




organizations that support the Debtors’ patient population (b) request that the organizations post

and/or distribute the information to its members, and (c) post a copy of the Notice of

Commencement to its information bulletin board accessible to its patient populations within each

respective facility. This Court believes that the foregoing efforts are sufficient to ensure that

current and former patients would receive constructive notice of the commencement of these

chapter 11 cases and, as a result, the form of the publication notice is hereby approved and

authorized pursuant to Bankruptcy Rule 2002(l).

         5.        The Notice of Commencement, substantially in the form attached hereto as

Exhibit 1, is hereby approved and the Debtors, through Epiq, are authorized, but not directed, to

serve the Notice of Commencement on all parties listed on the Creditor Matrix. Service of the

Notice        of   Commencement     shall   be   deemed    adequate   and    sufficient   notice   of

(a) the commencement of these chapter 11 cases and (b) the scheduling of the meeting of creditors

under section 341 of the Bankruptcy Code.

         6.        Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law, (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds, (c) a promise or requirement to pay any claim, (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim, (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code,

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

                                                   4
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 5 of 11




interest in, or other encumbrance on property of the Debtors’ estates, (g) a waiver or limitation of

the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other

applicable law, or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

        7.      Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Order is hereby waived, and the terms and conditions of this Order shall be

effective and enforceable immediately upon its entry.

        8.      The Debtors are authorized to take any action necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Order without seeking further

order of this Court.

        9.      This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Order.


   Dated: November
  Signed: __________,
                   12,2024
                       2024
   Houston, Texas                                    UNITED STATES BANKRUPTCY JUDGE
                                                               _____________________________
                                                               Alfredo R Pérez
                                                               United States Bankruptcy Judge




                                                   5
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 6 of 11




                                            EXHIBIT 1

                                    Notice of Commencement

Information to identify the case:
 Debtor:    Wellpath Holdings, Inc., et al.                                EIN: XX-XXXXXXX
            Name

 United States Bankruptcy Court for the Southern District of Texas
 Case Number: 24-90533 (ARP)                            Date case filed for Chapter 11: 11/11/2024

Official Form 309F1 (For Corporations or Partnerships)



Notice of Chapter 11 Bankruptcy Case                                                            12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code.
An order for relief has been entered.
This notice has important information about the case for creditors and debtors, including
information about the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that
creditors generally may not take action to collect debts from the debtor or the debtor’s property.
For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess
property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the
debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual
and punitive damages and attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have
a particular debt excepted from discharge may be required to file a complaint in the bankruptcy
clerk’s office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the
bankruptcy clerk’s office at the address listed below or through PACER (Public Access to Court
Electronic Records at https://pacer.uscourts.gov).


The staff of the bankruptcy clerk’s office cannot give legal advice.


Do not file this notice with any proof of claim or other filing in
the case.
          Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 7 of 11



1.    Debtors’ full name: See chart below.
      List of Jointly Administered Cases

NO.                    DEBTOR                                     ADDRESS                       CASE NO.         EIN #
                                                      3340 Perimeter Hill Drive, Nashville,   24-90532 (ARP)
 1          Physicians Network Association, Inc.                                                               XX-XXXXXXX
                                                               Tennessee 37211
                                                      3340 Perimeter Hill Drive, Nashville,
 2       Alpine CA Behavioral Health HoldCo, LLC                                              24-90537 (ARP)   XX-XXXXXXX
                                                               Tennessee 37211

 3      Behavioral Health Management Systems, LLC     2120 Alpine Blvd., Alpine, CA 91901     24-90538 (ARP)   XX-XXXXXXX
          Boynton Beach Florida Behavioral Health      4905 Park Ridge Blvd, Boynton          24-90539 (ARP)
 4                                                                                                             XX-XXXXXXX
                 Hospital Company, LLC                        Beach, FL 33426
                                                     3340 Perimeter Hill Drive, Nashville,    24-90541 (ARP)
 5      CCS-CMGC Intermediate Holdings 2, Inc.                                                                 XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90540 (ARP)
 6       CCS-CMGC Intermediate Holdings, Inc.                                                                  XX-XXXXXXX
                                                              Tennessee 37211
                                                    3340 Perimeter Hill Drive, Nashville,     24-90534 (ARP)
 7             CCS-CMGC Parent GP, LLC              Tennessee 37211                                            XX-XXXXXXX
                                                     3340 Perimeter Hill Drive, Nashville,    24-90535 (ARP)
 8           CCS-CMGC Parent Holdings, LP                                                                      XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90542 (ARP)
 9                  CHC Companies, LLC                                                                         XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90543 (ARP)
10        Conmed Healthcare Management, LLC                                                                    XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90544 (ARP)
11              Correct Care Holdings, LLC                                                                     XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90545 (ARP)
12         Correct Care of South Carolina, LLC                                                                 XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90546 (ARP)
13       Correctional Healthcare Companies, LLC                                                                XX-XXXXXXX
                                                              Tennessee 37211
        Correctional Healthcare Holding Company,     3340 Perimeter Hill Drive, Nashville,    24-90547 (ARP)
14                                                                                                             XX-XXXXXXX
                             LLC                              Tennessee 37211
                                                       490 W 14th St, Long Beach, CA          24-90548 (ARP)
15                 Harborview Center, LLC                                                                      XX-XXXXXXX
                                                                    90813
                                                     3340 Perimeter Hill Drive, Nashville,    24-90549 (ARP)
16         HCS Correctional Management, LLC                                                                    XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90550 (ARP)
17            Healthcare Professionals, LLC                                                                    XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90551 (ARP)
18              Jessamine Healthcare, LLC                                                                      XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90552 (ARP)
19         Justice Served Health Holdings, LLC                Tennessee 37211                                  XX-XXXXXXX
                                                     3340 Perimeter Hill Drive, Nashville,    24-90553 (ARP)
20              Missouri JSH Holdco, LLC                                                                       XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90554 (ARP)
21              Missouri JSH Manager, Inc.                                                                     XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90555 (ARP)
22                Perimeter Hill RPA, LLC                                                                      XX-XXXXXXX
                                                              Tennessee 37211
         901 45 Street West Palm Beach Florida
                 th
                                                    993 45th Street, West Palm Beach, FL
23                                                                                            24-90536 (ARP)   XX-XXXXXXX
        Behavioral Health Hospital Company, LLC                     33407
                                                     3340 Perimeter Hill Drive, Nashville,    24-90556 (ARP)
24                  Wellpath CFMG, Inc.                                                                        XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90558 (ARP)
25      Wellpath Community Care Holdings, LLC                                                                  XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90559 (ARP)
26     Wellpath Community Care Management, LLC                                                                 XX-XXXXXXX
                                                              Tennessee 37211
       Wellpath Community Care Centers of Virginia, 3340 Perimeter Hill Drive, Nashville,     24-90557 (ARP)
27                                                                                                             XX-XXXXXXX
                             LLC                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90560 (ARP)
28                Wellpath Education, LLC                                                                      XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90561 (ARP)
29            Wellpath Group Holdings, LLC                                                                     XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90533 (ARP)
30                  Wellpath Holdings, Inc.                                                                    XX-XXXXXXX
                                                              Tennessee 37211
                                                     3340 Perimeter Hill Drive, Nashville,    24-90562 (ARP)
31      Wellpath Hospital Holding Company, LLC                Tennessee 37211                                  XX-XXXXXXX
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 8 of 11



                                            3340 Perimeter Hill Drive, Nashville,   24-90563 (ARP)
32                Wellpath LLC                       Tennessee 37211                                    XX-XXXXXXX
                                            3340 Perimeter Hill Drive, Nashville,   24-90564 (ARP)
33          Wellpath Management, Inc.                                                                   XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90565 (ARP)
34       Wellpath Recovery Solutions, LLC                                                               XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90566 (ARP)
35          Wellpath SF Holdco, LLC                                                                     XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90567 (ARP)
36                 WHC, LLC                                                                             XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90568 (ARP)
37                WPMed, LLC                                                                            XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90569 (ARP)
38          Zenova Management, LLC                                                                      XX-XXXXXXX
                                                     Tennessee 37211
                                            3340 Perimeter Hill Drive, Nashville,   24-90570 (ARP)
39           Zenova Telehealth, LLC                                                                     XX-XXXXXXX
                                                     Tennessee 37211



2. All other names used in the last 8 years:


3. Address: See chart above.
4. Debtors’ attorneys
     MCDERMOTT WILL & EMERY LLP
     Marcus A. Helt (Texas Bar #24052187)                     Debtors’ notice and claims agent (for court
     845 Texas Avenue, Suite 4000                             documents and case information inquiries):
     Houston, Texas 7702-1658
     Telephone: (214) 295-8000                                Case Website: https://dm.epiq11.com/Wellpath
     Facsimile:   (972) 232-3098
     Email:       mhelt@mwe.com                               Telephone:            (888) 884-6182 (Toll Free)
                                                                                    +1 (503) 479-4073 (International)
     MCDERMOTT WILL & EMERY LLP
     Felicia Gerber Perlman (pro hac vice                     Email: wellpathinfo@epiqglobal.com
     admission pending)
     Bradley Thomas Giordano (pro hac vice
     admission pending)                                       MCDERMOTT WILL & EMERY LLP
     Jake Jumbeck (pro hac vice admission                     Steven Z. Szanzer (pro hac vice admission
     pending)                                                 pending)
     Carole Wurzelbacher (pro hac vice                        One Vanderbilt Avenue
     admission pending)                                       New York, New York 10017
     Carmen Dingman (pro hac vice admission                   Telephone:     (212) 547-5400
     pending)                                                 Facsimile:     (212) 547-5444
     444 West Lake Street, Suite 4000                         Email:         sszanzer@mwe.com
     Telephone: (312) 372-2000
     Facsimile:    (312) 984-7700
     Email:        fperlman@mwe.com
                   bgiordano@mwe.com
                   jjumbeck@mwe.com
                   cwurzelbacher@mwe.com
                   cdingman@mwe.com
        Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 9 of 11




 5. Bankruptcy Clerk’s Office
                                                    United States              Hours Open: Monday –
                                                     Courthouse                Friday
 Documents in this case may be filed at
                                                   515 Rusk Street             8:00 AM - 5:00 PM CT
 this address.
                                                  Houston, TX 77002            Contact phone: (713)
                                                                               250-5500
 You may inspect all records in this case at
 this office or online at
                                                 All documents in this case are available filed free of
 https://pacer.uscourts.gov/.
                                                 charge on the website of the Debtors’ notice and
                                                 claims agent at https://dm.epiq11.com/Wellpath
 6. Meeting of Creditors
 The debtor’s representative     Not yet set. The meeting may be          Location:
 must attend the meeting to be   continued or adjourned to a later        Bob Casey United States
 questioned under oath.          date. If so, the date will be on the     Courthouse, Office of the
 Creditors may attend, but are   court docket.                            United States Trustee,
 not required to do so.                                                   515 Rusk, Suite 3401
                                                                          Houston, Texas,
                                                                          77002
 Dial in will be: 866-707-5468
 / Participant Code 6166997#

7. Proof of claim deadline:      Deadline for
                                                        Not yet set. If a deadline is set, the court will
                                 filing proofs
                                                        send you another notice.
                                 of claim:
                                                        When Filing Proofs of Claim, claims may be
                                                        sent to either address below or filed
                                                        electronically via the case website:
                                                        https://dm.epiq11.com/Wellpath

                                                        If by First-Class Mail:
                                                        Wellpath, Claims Processing Center
                                                        c/o Epiq Corporate Restructuring, LLC
                                                        P.O. Box 4420
                                                        Beaverton, OR 97076-4420

                                                        If by Hand Delivery or Overnight Mail:
                                                        Wellpath, Claims Processing Center
                                                        c/o Epiq Corporate Restructuring, LLC
                                                        10300 SW Allen Blvd.
                                                        Beaverton, OR 97005
       Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 10 of 11




                              A proof of claim is a signed statement describing a creditor's claim.
                              A proof of claim form may be obtained at www.uscourts.gov, any
                              bankruptcy clerk's office or on the case website at
                              https://dm.epiq11.com/Wellpath.

                              Your claim will be allowed in the amount scheduled unless:
                              •  Your claim is designated as disputed, contingent, or unliquidated;
                              •  You file a proof of claim in a different amount; or
                              •  You receive another notice.

                              If your claim is not scheduled or if your claim is designated as
                              disputed, contingent, or unliquidated, you must file a proof of claim
                              or you might not be paid on your claim and you might be unable to
                              vote on a plan. You may file a proof of claim even if your claim is
                              scheduled.

                              You may review the schedules at the bankruptcy clerk's office or
                              online at
                              https://pacer.uscourts.gov.

                              Secured creditors retain rights in their collateral regardless of
                              whether they file a proof of claim. Filing a proof of claim submits a
                              creditor to the jurisdiction of the bankruptcy court, with
                              consequences a lawyer can explain. For example, a secured creditor
                              who files a proof of claim may surrender important nonmonetary
                              rights, including the right to a jury trial.

8.   Exception to discharge   If § 523(c) applies to your claim and you seek to have it excepted from
     deadline                 discharge, you must start a judicial proceeding by filing a complaint
                              by the deadline imposed by Federal Rule of Bankruptcy Procedure
                              4007(c).

                              The bankruptcy clerk's office must receive a complaint and any required
                              filing fee by the following deadline.


 9. Creditors with a          If you are a creditor receiving notice mailed to a foreign address, you
    foreign address           may file a motion asking the court to extend the deadlines in this
                              notice. Consult an attorney familiar with United States bankruptcy
                              law if you have any questions about your rights in this case.
 10. Filing a Chapter 11      Chapter 11 allows debtors to reorganize or liquidate according to a
     bankruptcy case          plan. A plan is not effective unless the court confirms it. You may
                              receive a copy of the plan and a disclosure statement telling you
                              about the plan, and you may have the opportunity to vote on the plan.
                              You will receive notice of the date of the confirmation hearing, and
                              you may object to confirmation of the plan and attend the
                              confirmation hearing. Unless a trustee is serving, the debtor will
      Case 24-90533 Document 72 Filed in TXSB on 11/12/24 Page 11 of 11



                               remain in possession of the property and may continue to operate its
                               business.

11. Discharge of debts         Confirmation of a chapter 11 plan may result in a discharge of debts,
                               which may include all or part of your debt. See 11 U.S.C. § 1141(d).
                               A discharge means that creditors may never try to collect the debt
                               from the debtor except as provided in the plan. If you want to have a
                               particular debt owed to you excepted from the discharge and § 523(c)
                               applies to your claim, you must start a judicial proceeding by filing a
                               complaint and paying the filing fee in the bankruptcy clerk’s office
                               by the deadline.

 If you have any questions related to this notice, please call (888) 884-6182 (toll-free for U.S.-
      based parties) or +1 (503) 479-4073 (for international parties), or send an email to
wellpathinfo@epiqglobal.com. You may access documents and case information free of charge
                              at https://dm.epiq11.com/Wellpath.
